EXHIBIT A
                                          Ned Lamont
                                             GOVERNOR
                                       STATE Of CONNECTICUT




March 10, 2020

The Honorable Denise Merrill
Secretary of the State
State Capitol Hartford, CT 06106

Frederick J. Jortner
Clerk of the State House of Representatives
State Capitol
Hartford, CT 06016

Michael Jefferson
Clerk of the State Senate
State Capitol
Hartford, CT 06016



RE: Declaration of Public Health and Civil Preparedness Emergencies

Dear Secretary Merrill and Clerks of the General Assembly:

In response to the global pandemic of COVID 19 disease associated with a novel corona virus
that is currently affecting multiple countries and states and has resulted in the spread of
infections in Connecticut and surrounding states, as well as resulting shortages of personal
protective equipment and other supplies that could jeopardize public safety and civil
preparedness, and in order to provide me and other appropriate officials with all authorities
necessary to limit the spread of the COVID 19 coronavirus and protect public safety within the
State of Connecticut, I hereby declare a public health emergency and civil preparedness
emergency throughout the State, pursuant to Sections 19a-131 a and 28-9 of the Connecticut
General Statutes. Such public health emergency and civil preparedness emergency shall remain
in effect through September 9th, 2020, unless terminated earlier by me.

Specifically, in accordance with Connecticut General Statutes Section 19a-131 a (f), I hereby
authorize and direct the Commissioner of Public Health to delegate the powers regarding
isolation or quarantine to municipal and district directors of public health. Municipalities, local


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health officials, and local education officials are directed to follow previously issued guidance
and apply relevant principles of risk management to decisions about whether to cancel, modify,
or postpone large gatherings, public events, or travel.

Orders regarding additional measures to protect public health and safety, including suspension or
modification of specific statutes, will follow as I determine to be necessary.

I am filing this declaration with you under my hand and seal on this l01h day of March 2020.



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                                             Ned Lamont
                                             Governor
